      Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 1 of 26


 1
     A PROFESSIONAL CORPORATION
 2   David A. Melton, SBN 176340
     350 University Avenue, Suite 200
 3   Sacramento, California 95825
     TEL: 916.929.1481
 4   FAX: 916.927.3706
     dmelton@porterscott.com
 5

 6

 7
     Attorneys for Defendants
 8   DICK’S SPORTING GOODS, INC. and THOMAS ZIEBART

 9
                                  UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA

11   JOSEPH AGUINALDO,                                    SACRAMENTO COUNTY SUPERIOR
                                                          COURT CASE NO: 34-2021-00305547
12                           Plaintiff,
                                                          NOTICE OF REMOVAL OF ACTION
13           vs.                                          UNDER 28 U.S.C. § 1441(b) (DIVERSITY
                                                          JURISDICTION)
14   DICK’S SPORTING GOODS, INC.;
     THOMAS ZIEBART; and DOES 1 through
15   100, inclusive,

16                           Defendants.

17
              TO THE CLERK OF THE ABOVE-ENTITLED COURT:
18
             PLEASE TAKE NOTICE that Defendants DICK’S SPORTING GOODS, INC. and
19
     THOMAS ZIEBART (“Defendants”) hereby remove the above-captioned action from the Superior
20
     Court of the State of California, Sacramento County, to the United States District Court for the
21
     Eastern District of California pursuant to 28 U.S.C. § 1332 and 1441(b). Defendants’ removal of
22
     this action is based on the following grounds:
23
             1.        On or about August 9, 2021, Plaintiff JOSEPH AGUINALDO (“Plaintiff”) filed an
24
     action in the Superior Court of the State of California, County of Sacramento, entitled Aguinaldo v.
25
     Dick’s Sporting Goods, Inc., Case No. 34-2021-00305547, against Defendants DICK’S SPORTING
26
     GOODS, INC. and THOMAS ZIEBART, alleging negligence and strict product liability as a result
27
     of an accident involving a golf club.
28

     {02526467.DOCX}                                  1
          NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY JURISDICTION)
      Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 2 of 26


 1           2.        This civil action is currently pending in the Superior Court of the State of California,

 2   County of Sacramento. The only pleading or order filed in Sacramento County of which Defendants

 3   are aware is Plaintiff’s Complaint (attached hereto as Exhibit 1).

 4           3.        This Notice of Removal was filed within thirty days of receipt of Plaintiff’s Complaint

 5   that identified the grounds for removal and is therefore timely pursuant to 28 U.S.C. § 1446(b).

 6           4.        This Court has original jurisdiction of the above-entitled action pursuant to 28 U.S.C.

 7   § 1332, on the basis of diversity of citizenship of the parties, and the action may therefore be

 8   removed to this Court pursuant to 28 U.S.C. § 1441(b). Plaintiff is a citizen and resident of the State

 9   of California. Defendant DICK’S SPORTING GOODS, INC. is a corporation incorporated in the

10   State of Pennsylvania.

11           5.        Defendant THOMAS ZIEBART is a resident of the State of California. However,

12   Mr. Ziebart’s residence should not be considered for the purpose of determining diversity of

13   citizenship in this matter because he is a sham defendant who has been fradulently joined for the

14   sole purpose of defeating diversity jurisdiction. The Declaration of Thomas Ziebart is attached

15   hereto as Exhibit 2.

16           6.        Although plaintiff as master of the complaint can select the forum in which to bring

17   the action, a plaintiff cannot fraudlently join a resident defendant having no real connection with the

18   controversy to prevent removal. (Wilson v. Republic Iron & Steel Co. (1921) 257 US 92, 97.)

19   Fraudulent joinder is a term of art that does not reflect on plaintiff or plaintiff’s counsel. (Morris v.

20   Princess Cruises, Inc. (9th Cir 2001) 236 F3d 1061, 1067.) Rather, fraudulent joinder is the rubric

21   applied when the court determines that plaintiff has not stated a cause of action against a nondiverse

22   defendant, “or in fact no cause of action exists.” If there can be no recovery under state law for the

23   cause of action alleged against the nondiverse defendant or under the facts alleged, the failure is

24   obvious according to the settled rules of the state (Morris v. Princess Cruises, Inc., supra), or there

25   is no intention to secure a joint judgment, the joinder is deemed fraudulent (Parks v. New York

26   Times Co. (5th Cir 1962) 308 F2d 474, 478.) When fraudulent joinder is present, the court may

27   disregard fraudulently joined parties in determining diversity and retain jurisdiction. (Morris v.

28   Princess Cruises, Inc., supra.)

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          NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY JURISDICTION)
      Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 3 of 26


 1             7.      Defendant THOMAS ZIEBART is currently employed as the District Manager for

 2   Defendant DICK’S SPORTING GOODS, INC.’s East Los Angeles District. (See Declaration of

 3   Thomas Ziebart ¶ 1, 7.) Plaintiff’s Complaint arises out of a purchase of a Top Flite XL 13-Piece

 4   Complete Set from Defendant DICK’S SPORTING GOODS, INC. on April 17, 2019. (See

 5   Plaintiff’s Complaint ¶ X.) On April 17, 2019, Defendant THOMAS ZIEBART was employed as

 6   the District Manager for Defendant DICK’S SPORTING GOODS, INC.’s Central Valley District.

 7   (See Declaration of Thomas Ziebart ¶ 6.) He was not involved in the sale of the Top Flite XL 13-

 8   Piece Complete Set to Plaintiff and, in his capacity as a District Manager, his duties do not and have

 9   never involved anything as it relates to Dick’s Sporting Goods, Inc.’s sale of golf clubs, and in

10   particular, Dick’s Sporting Goods, Inc.’s sale of the Top Flite XL 13-Piece Complete Set. (See

11   Declaration of Thomas Ziebart ¶¶ 8-9.) As a result, Defendant THOMAS ZIEBART has no real

12   connection to the current lawsuit and there can be no intention of securing a judgment against him

13   and Defendant DICK’S SPORTING GOODS, INC. Accordingly, his joinder is fraudulent and his

14   residence should be disregarded in determining diversity jurisdiction.

15             8.      Venue is proper in this District because this District includes Sacramento County,

16   the forum in which the removed action was pending.

17             9.      Defendants will promptly file a Notice of this Removal with the Clerk of the

18   Sacramento County Superior Court and serve the Notice on all parties who have appeared in the

19   action.

20             10.     Defendants will provide all adverse parties notice as required under 28 U.S.C. §
     1446(d) and file a copy of said notice.
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     //
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          NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY JURISDICTION)
      Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 4 of 26


 1           11.       This Notice is submitted in accordance with 28 U.S.C. § 1446(a) and is signed

 2   pursuant to Federal Rule of Civil Procedure 11.

 3
     Dated: October 19, 2021                     PORTER SCOTT
 4                                               A PROFESSIONAL CORPORATION
 5

 6
                                                           S
                                                 By ____________________________________
                                                       David A. Melton
 7                                                     Attorney for Defendants
                                                       DICK’S SPORTING GOODS, INC.
 8                                                     and THOMAS ZIEBART
 9

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          NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY JURISDICTION)
                                                        Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 5 of 26


                                                   1   CASE NAME:               JOSEPH AGUINALDO v. DICK’S SPORTING GOODS, INC., et al.
                                                       COURT:                   UNITED STATES DISTRICT COURT-EASTERN DIVISION
                                                   2   CASE NO.:                34-2021-00305547
                                                   3
                                                                                                 PROOF OF SERVICE
                                                   4
                                                               At the time of service, I was over 18 years of age and not a party to this action. My
                                                   5
                                                       business address is 350 University Avenue, Suite 200, Sacramento, California 95825.
                                                   6
                                                               On the date below, I served the following document:
                                                   7
                                                   8            NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(b) (DIVERSITY
                                                                                      JURISDICTION)
                                                   9
                                                                BY MAIL: I placed the envelope for collection and mailing, following our ordinary business practices. I
                                                  10            am readily familiar with this business’ practice for collecting and processing correspondence for mailing.
                                                                On the same day that correspondence is placed for collection and mailing, it is deposited in the ordinary
                                                  11            course of business with the United States Postal Service, in a sealed envelope with postage fully prepaid.
                                                                BY FAX TRANSMISSION: Based on an agreement of the parties to accept service by fax transmission, I
                                                  12            faxed the documents to the persons at the fax numbers listed below. No error was reported by the fax
                                                                machine that I used. A copy of the record of the fax transmission, which I printed out, is attached
                 350 University Ave., Suite 200




                                                  13            BY ELECTRONIC SERVICE: Only by e-mailing the document(s) to the persons at the e-mail
                    Sacramento, CA 95825




                                                                address(es). This is necessitated during the declared National Emergency due to the Coronavirus (Covid-
PORTER | SCOTT




                                                          XX
                      FAX: 916.927.3706
                      TEL: 916.929.1481




                                                  14            19) pandemic because this office will be working remotely, not able to send physical mail as usual, and is
                                                                therefore using only electronic mail. No electronic message or other indication that the transmission was
                                                  15            unsuccessful was received within a reasonable time after the transmission. We will provide a physical copy,
                                                                upon request only, when we return to the office at the conclusion of the national emergency. This is made
                                                  16            pursuant to Code Civ. Proc., § 1010.6 as amended per SB 1146, Emergency Rule 12.

                                                  17
                                                       Addressed as follows:
                                                  18   Edward P. Dudensing
                                                       Jay P. Renneisen
                                                  19   Andrew J. Collins
                                                  20   Thomas A. Reyda
                                                       Dudensing Law
                                                  21   1610 R Street, Suite 220
                                                       Sacramento, CA 95811
                                                  22   tom@dudensinglaw.com
                                                  23   jay@dudensinglaw.com
                                                       ed@dudensinglaw.com
                                                  24   andrew@dudensinglaw.com
                                                  25           I declare under penalty of perjury under the laws of the State of California that

                                                  26   the foregoing is true and correct. Executed at Sacramento, California on October 19, 2021.

                                                  27
                                                  28
                                                                                                                             M
                                                                                                                            Molly A. Flores

                                                       {02525745.DOCX}
                                                                                                    PROOF OF SERVICE
Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 6 of 26




             EXHIBIT 1
                         Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 7 of 26
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                                  (ClTACIOIV JUDIClAL)
                                                                                                                    ILF-1)
NOTICE TO DEFENDANT:                                                                                              8 uperic>;r COurt Of Calif
(AVtSO AL DEMA)VDADO):                                                                                               opamgnto
DiCK'S SPORTING GOODS, INC.; THOMAS ZIEBART; and DOES 1 through 100, inctusive

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTid DEMANDANDQ EL DEMANDANTE):                                                                                 V
JOSEPH AGUINALDO                                                                                                    age Nurr[bitw
 NOTI EI You have been sued. The court may decide against you without your being heard unless you respo                  hi
 belova.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the piaintiff. A letter or phone call will not protect you. Your written response must be in proper iegal form if you want the court to hear your
 case, There nray be a court form that you can use for your response. You can flnd these court fortns and more information at the Califomia Courts
 Online Self-Help Center (www.courtfnfo.ca.gov/selthelp), your county law library, or the coutthouse nearest you. lf you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the couit.
    There are other legal requirements, You may want to call an attorney right away. If you do not know an attorney, you may want to catl an attorney
 referral service. lf you cannot afford an attomey, you may he eligible for free tegal servioes from a nonprofit legal serviees program. You can locate
 these nonprofit groups at the Califomia l.egal Services Web aite (www.lawhelpcalftomia.org), the Califomia Courts Onflne 8elf-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by eontacting your local court or eounty bar association. NOTE: The oourt has a statutory iien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in acivil case. The eourt's lien must be paid before the coart will dismiss the case.
 jAV150► Lo han demandado. SI no nesponde dentro de 30 d/as, la corte puede decidlren su oontra sin escueharsu ven;;iOn. Lea !a informacidn a
 continuacibn.
   Tiane 30 D1AS D,E CALENDARiO despu8s de que !e entreguen este citacfdn y pepeles legafes para presentar una respuesta porescrito en esta
 corte y hacar que se entregue una copia al demandante. Una carta o una llamada telefdnka no lo protegen. Su raspuesta par esdito tiene que estar
 en formato /egal correcto si desea que pmcssen su caso en la corte. Es posible que haya un farrnulario que usted pueda usar pera su respueste.
 Parede encontrar estos formularlos de la cbrte y m6s informacJdn en el Centro de Ayuda da las Cortes de Calllomia (wwwsucorte.ca.gov), en !a
 bibfioteca de /eyes de su oondado o en la co►te que le quede mds ceroa. Sino puede pager la cuota da presentaci6n, pida al secretarfo de fa corte que
 !e d8 un forrraufarro de exencidn de pago de cuotas. Si no presenta su respuesta a dempo, puede psrrter el caso por incumptimiento y!a corte le podrr3
 qintar su sualdo, dineto y bfenes sinn mas advertencia.
    Flay otros requisitos /egales. Es rsaomendable que Ilama a un abogado inmedialamente. Si no conoce e un abogado, puede liamar a un servicio de
 remisfdn a abogados. Si no puede pagar a un abogado, es posib/e que cumpla con los n3quisJtos para oblener servfcios legales gratukos de un
 programa de servicios legales sin flnes de lucro. Puede enconfrar estos grupos sin fines de lucry en el sitio web de Ca/ifomia Legal 8ervices,
 (Mm.lawltelpcalifomia, org), en el Cenbv de Ayuda de las Cortes de Catifomia, (www.suoorte.ca.gov) o ponldndose en contecto con la corte o el
 colegio de abogados locales. A VlSO: Par (ey, la corte tiene derecho a reclamar las cuotas y tos costos exentos porlmponer un gravamen sobre
 cualquier recuperacian de $10,000 6 mds de valor recibida madiante un acuerrto o uns ooncesidn de arbltraje en un caso de dereoho civN. 77ene que
 pagar ef gravamen de la corte antes de que la cone pueda desecharet caso.
The name and address of the court is:                                                                  CASE NUMBER: (Numern del Caso):
(El nombre y dfrecci6n de la corte es):                                                                       34-2021-00305547
720 9th Street, Sacramento, CA 95814

The name, address, and teiephone number of plaintiffs attomey, or piaintiff without an attorney, is: (El nombre, la di►:eccidn y el numern
de teldfono del abogado del demandante, o del demandante que no tiene abogado, es):
Edward P. Dudensing, Dudensing Law,1610 R Street, Suite 220, Sacramento, CA 95811, 916-}i48-640Q
DATE'                                                                 Cierk, by                                                                        , Deputy
(Fecha) AUG 0- 9 2021                                                                                                                                  (Adjunto)
(For pnoof ofservrce ofthis summons, use Proof of Senrice of Summons (form POS-t110).) -
(Para pmeba de entnega de esta citatl6n use el formularfo Proof of Servioe of Summons, (POS-0!t?).)
 Isf=at,i
                                      NOTICE TO THE PERSON SERVED: You are served
                                      1. C] as an individuat defendant.
                                      2.          as the person sued under the fictitious name of (spedfy):
                                      3. =        on behalf of (specify):
                                           under:        CCP 416.10 (corporation)                                   CCP 416.60 (minor)
                                                    Q    CCP 416.20 (defunct corporation)                           CCP 416.70 (conservatee)
                                                    (~   CCP 416.40 (assodation or partnership)                     CCP 418.90 (authorized person)
L                                 I                 =    other (specify):
                                      4. 0        by personai delivery on (date)
                                                                                                                                                          Page 1or I
Fom+Aclopted for Maindatory Use
                                                                       SUI~IMONS                                                CoQe of Civii Vrocedure g§ 412.20, 4r,s
JudiGN Courtdl of Cardomia                                                                                                                          WWW
SUM•100 (Rev. July 1, 20091                                                                                                                               ~u~~~
             Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 8 of 26


       Edward P. Dudensing (Bar No.182221)                                          FILECI
       Jay P. Renneisen (Bar No.173531)                                             8xupecicrr Cocett Of C
  2    Andrew J. Collins (Bar No. 309080)                                           Sarrarmento
       Thomas A. Reyda (Bar No. 312632)                                             0811142021
  3
       Dudensing Law
                                                                                    1s1gwart't
  4    1610 R Street, Suite 220
       Sacramento, CA 95811                                                         By
  5                                                                                 Case @durrel`rdr:
       Telephone: (916) 448-6400
       Facsimile: (916) 448-6401                                                    34-2021-00301
  6
  7 Attorneys for.Plaintiff
  8
  9                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                                FOR THE COUNTY OF SACRAMEN'T'O
11
       JOSEPH AGUINA.LDO,                              }    Case No.
• 12                                                   )
                     Plaintiff,                        )    COMPLAINT FOR DAMAGES
13                                          .          )    ARISING OUT OF NEGLIGENCE
                                                       }    AND STRICT PRODUCT LIABILITY
            vs..
14                                                     )
                                                       )       1. NegGgence
15 DICK'S SPORTING GOODS, INC.;                        )       2. Strict Product Liability
   THOMAS ZIEBART; and DOES 1                          }
16 through 100, inclusive,                             }

 17                  Defendants.                        )
                                                        )
18                                                      )
                                                        )
19                                                      )
                                                        }
 20                                                     )
                                                        )
 21                                                     }

 22
 23
 24
25




                4
                    Complaint For Damages Arising Out Of Negligence And Strict Product Liability
            ,                                        Page 1
             Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 9 of 26


 1           Plaintiff alleges as follows:
 2                                                 PAR.TIES
 3
             1.       Plaintiff Joseph Agninaldo is an individual and_is now, and at all times
 4
      mentioned in this complaint was, a resident of Contra Costa County, California. '
 5
             2.       Defendant Dick's Sporting Goods, Inc. is now, and at aIl times mentioned in
 GI
        complaint was, a corporati.on organized and existing under the laws of the State of
 7 this
 8    California.

 9           3.       Defendant Dick's Sporting Goods, Inc. is now, and at all times mentioned in
10 this complaint was, a corporation that conducted business throughout California, including
11
   Sacramento County.
.12
             4.       Defendant Thomas Ziebart is now, and at all titnes mentioned in this
13
      complaint was the manager of Dick's Sporting Goods, Inc. and a resident of California.
14
15           5.       Plaintiff is ignorant of the true names and capacities of those defendants

16 I named as Does 1 through 100 (hereafter "Doe Defendants'), and for that reason has sued
17 these defendants by fictitious naines. Plaintiff is informed and believes, and on that basis
18 alleges that each of the ficdtiously named Doe Defendants is in some way liable and legally
19
   responsible for the damages and injudes set £orth in this complaint. Plaintiff will seek leave
20
   of the Court to amend this complaint to identify these Doe Defendants when their
21
   identities are detertnined.
22
23           G.       In this complaint, plaintiff refers to Dick's Sporting Goods, Inc.; Thomas

24 !I Ziebart, and Doe Defendants 1-100 collectively as the "Defendants." Whenever plainiiff
25 refers to the "Defendants" he is referring to Dick's Sporting Goods, Inc.; Thomas Zieba.rt,



                    Comp1aint For Damages Arising Out Of Negligence And Strict Product Liability
                                                     Page 2                                         ~
             Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 10 of 26


 1 and Doe Defendants 1-100 as if he had identified each of them individually. In doing the

 2 Ithings aileged in this complaint, Defendants, and each of them, acted as the agents,

 3
       servants, employees and alter egos of their co-defendants. Defendants, and each of them,
 4
       acted within the course and scope of their agency and employment, and acted with the
 5
       knowledge, consent and approval of their co-defendants. Their conduct was approved and
 G
       ratified by their co-defendants.
 7

 8                                      FACTUAL ALL GATIONS

 9            7.      Defendants are now, and at all timed mentioned in this complaint were, in
10 I I the business of designing, manufacturing, constructing, assembling, inspecting and selling

11
       various types of golf clubs and golf products, including the Top Flite XL 13-Piece
-12
       Complete Set (hereafter referred to as Top Flite XI.13-Piece Complete Set or "golf clubs').
13
              8.      Defendants ate now, and at all times mentioned in this complaint were, in the
14

15     business of inspecting, maintaining, installing, and selling at retail to members of the public

16 I various types of golf clubs and golf products, including the Top Flite XL 13-Piece

17 I Complete Set.

18
              9.      On or about Apri117, 2019, plaintiff purchased from defendants a Top Flite
19
      , XL 13-Piece Complete Set.
20
              10.     On or about August 17, 2019, plaintiff attempted to use the Top Flite XL
21
       13-Piece Complete Set, at which time it caused the injuries and damages described below.
22 I

23                                              COUNT ONE
                                                 [Negligence]
24
              11.     Plaintiff hereby incorporates the allegations asserted in paragraphs 1 through
25
       10 above as though fully set forth at length below.


                    Complaint For Damages Arising Out OENegligeace And Strict Product Liability
                                                     Page 3
            Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 11 of 26


            12.     At all times mentioned in this complaint, defendant Dick's Sporting Goods,

2    Inc. so negligently and carelessly designed, manufactured, constructed, assembled,
3
     inspected, and sold the Top Flite XI.13-Piece Complete Set that it was dangerous and
4
     unsafe for its intended uses.
5
            13.     At all times mentioned in this complaint, defendant Dick's Sporting Goods,
6
     Inc. so negligently and carelessly inspected, -maintained and sold Top Flite XI.13-Piece
7

 8   Complete Set that it was dangerous and unsafe for its intended uses.

 9          14.     As a direct and proximate result of the negligence and carelessness of
10   defendants as described above, plaintiff's Top Flite XL 13-Piece Complete Set, purchased

     by plaintiff, caused him to lose aIl vision in his eye amongst other injuries.

            15.     As a further direct'and proximate result of the negligence and carelessness of

     defendants as described above, plaintiff sustained injuties and damages, including but not

15   lirnited to: lost wages, future lost wages, pain and suffering, permanent disability in the

16   form of permanent blindness, medical expenses, angiety, stress and other mental anguish.

17                                            COUNT TWO
                                        [Strict Products Liability]
18

19          16.     Plaintiff hereby incorporates the allegations asserted in paragraphs 1 through

20 ;15 above as though set forth fully below.

21          17.     At all times mentioned in this complaint, the Top Flite XL 13-Piece
22
     Complete Set and its component parts were defective as to design, manufacture, and
23
     warnings, causing the golf clubs and its component parts to be in a dangerous and defective
24
     I condition that made them unsafe for their intended use.
25




                  Complaint For Damages Arising C►ut Of Negligence .And Strict Product Liability
                                                    Page 4
             Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 12 of 26


 1           18.      As a direct and proximate result of the defective and dangerous condition of
 2    the Top Flite XL 13-Piece Complete Set described above, plaintifFs golf clubs purchased by
 3
      plaintiff caused blindness and other injuries.
 4
             19.'     As a further direct and proximate result of the defective and dangerous
 5
      condition of the Top Flite XL 13-Piece Complete Set described above, plaintiff sustained
 G
                                 includi.ng but not limited to: lost wages, future lost wages,
 7 serious injuries and damages,
 8 pain and suffering, permanent disability in the increase in form of blindness, medical
 9 I expenses, anidety, stress and other mental anguish.
10           Wherefore, pla.intiff prays for damages as set forth below.
11
             WHEREPORE, plaintiff prays for judgtnent as follows:
-12
             1.       For general damages according to proof;
13
             2.       For special damages according to proof;
14
15           3.       For costs of suit against all defendants, and

16           4.      . For such other and further relief as the Court deems just and pzoper.

17    Dated: August 4, 2021                                  Dudensin,g Law
18
19
20                                                                  Andrew). Collins
                                                                    Attorney for Plaintiffs
21
22
23
24
25



                    Complaint For Damages Arising Out Of Negligence And Strict Product Liability     I
                                                     Page 5                                          1
                          Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 13 of 26                                                                                              CI1f-OS®
                                - DO IVOT FILE In/ITH THE COURT-
  -UMLESS YOU ARE A PPLYIfVG FOR ,4 DEFAULT JUDGMEflIT UiVDER CODE OF CIV1L PROCEDURE § 585 -

 ATTORNEY OR PARTY WITHOUTATTORNEY (Name and Address):                                                      TELEPHONE NO.:                                  FOR COURT USE ONLY
 Edward P. Dudensing (SBN 182221)                     (916) 448-6400
 Jay P. Renneisen (SBN 173531)
 Andrew J. Collins (SBN 309080)/Thomas A. Reyda (SBN 312632)
 Dudensing Law, 1610 R Street, Suite 220, Sacramento, CA 95811
     ATTORNEY FOR (name): Plalntllf

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF Sacramento
    STREETADDRESS:          /20 Nlnth         Street

    MAILING ADDRESS:
   ciTY AND ztP CODE: Sacramento, CA 95814
       BRANCH NAME: Gordon D. Schaber Branch
      PLAINTiFF: Joseph Aguinaldo
   DEFENDANT: Dick's Sporting Goods, Inc., et al.
                                                                                                                                       CASE NUMBER:
                               STATEMENT OF DAMAGES
                           (Personal Injury or VNrongful Death)                                                                                       34-2021-00305547

To (name of one defendant only): Dick's Sporting Goods, Inc.
Plaintiff (name of one plaintiff only): Joseph Aguinaldo
seeks damages in the above-entitled action, as follows:
                                                                                                                                                                              AMOUNT
1. General damages
      ✓ Pain, suffering, and inconvenience .................................................................................................... $
   a.C~                                                                                                                                                                      10,000,000.00

    b.          Emotional distress. ............................................................................................................................. $           3,000,000.00

    c.0         Loss of consortium ............................................................................................................................. $
    d.0         Loss of sociey and companionship (wrongful death actions only) ..................................................... $
    e.          Other (specify) ..................................................................................................................................   $

    f. 0        Other (specify)                                                                                                                                      $
                                        ... ... ...... .. ................................. . ..................................................................
    g.          Continued on Attachment 1.g.
2. Special damages
   a.      Medical expenses (to date) ................................................................................................................ $                         500,000.00

   b.           Future medical expenses (present value) ..........................................................................................                   $        5,000,000.00
   c.0          Loss of earnings (to date) ................................................................................................................... $                   50,000.00

   d.0          Loss of future earning capacity (present value) .................................................................................. $
   e.0          Property damage ................................................................................................................................ $
   f. 0         Funeral expenses (wrongful death actions only) ................................................................................                      $

   g.0          Future contributions (present value) (wrongful death actions only) .................................................... $
   h.           Value of personal service, advice, or training (wrongful death actions only) ...................................... $
   i.           Other (specify) ..................................................................................................................................   $

   j.           Other (specffy)                                                                                                                                      $
                                          ........................................................................................................................
   k.           Continued on Attachment 2.k.
3. 0    Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of (specify).. $                                                             50,000,000.00
       when pursuing a judgment in the suit filed against you.
   Date: September 16, 2021
   Andrew J. Collins                                                                                (_
                                      (TYPE OR PRINT NAME)                                                                  (SIGNATURE OF PLAINTIFF OR ATTORNEY FOR PLAINTIFF)
                                                                              (Proof of service on reverse)                                                                              Page 1 of2

Form Adopted for Mandatory Use                                            STATEiUIENT OF DANIAGES                                                          Code of Civil Pracedure, §§ 425.11, 425.115
                                                                                                                                                                                 www.couRlnfo.ca.gov
  Judicial Councii af Cafdomfa
CN-05l) [Rev. January 1, 2007]                                        (Personal Injury or Wrongful Death)
                 Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 14 of 26
                             SLTPERI®]R. C®URT ®lF CAIILIIF®RNHAl
                                          COUNTY OF SACRAMENTO
                                      SACRAMENTO, CALIFORNIA, 95814
                                             916-874-5522
                                               WWW.SACCOURT.CA.GOV


                                  ALTERNATIVE DISPUTE RESOLUTION
                                       INFORIUTATION PACKAGE
Recognizing that many civil disputes can be resolved without the time and expense of traditional civil litigation, the
Superior Court of California, County of Sacramento (Sacramento County Superior Court), strongly encourages parties in
civil cases to explore and pursue the use of Alternative Dispute Resolution.

What is Alternative Dispute Resolution?

Alternative Dispute Resolution (ADR) is the general term applied to a wide variety of dispute resolution processes which
are alternatives to lawsuits. Types of ADR processes include:

•     Arbitration                        •   Private judging                      •    Mini-trials
•     Mediation                          •   Neutral evaluation                   •    Negotiation and hybrids of these
•     Settlement Conferences                                                           processes

AII ADR processes ofFer a partial or complete alternative to traditional court litigation for resolving disputes. At the present
time, the Sacramento County Superior Court offers Mediation and Arbitration.

What are the advantages of using ADR?

ADR can have a number of advantages over traditional court litigation.

    * ADR can save time. Even in a complex case, a dispute can be resolved through ADR in a matter of months or
      weeks, while a lawsuit can take years.

    • ADR can save money. By producing earlier settlements, ADR can save parties and courts money that might
      otherwise be spent on litigation costs (attorneys fees and court expenses.)

    • ADR provides more participation. Parties have more opportunity with ADR to express their own interests and
      concerns, while litigation focuses exclusively on the parties' legal rights and responsibilities.

    • ADR provides more control and flexibility. Parties can choose the ADR process most appropriate for their
      particular situation and that will best serve their particular needs.

    • ADR can reduce stress and provide greater satisfaction. ADR encourages cooperation and communication, while
      discouraging the adversarial atmosphere found in litigation. Surveys of disputants who have gone through ADR have
      found that satisfaction with ADR is generally high, especially among those with extensive ADR experience.

Arbitration and Mediation

Although there are many difPerent types of ADR processes, the types most commonly used to resolve disputes in
California state courts are Arbitration and Mediation. The Sacramento County Superior Court currently ofFers pre-
screened panelists with experience and training in each of the following areas.

Arbitration. An Arbitrator hears evidence presented by the parties, makes legal rulings, determines facts and makes an
Arbitration award. Arbitration awards may be entered as judgments in accordance with the agreement of the parties or,
where there is no agreement, in accordance with California statutes. Arbitration can be binding if the parties so agree in
writing. If there is no such agreement, either party can reject the Arbitration award and request a trial.




                                       Alternative Dispute Resolution Information Package
CV1E-100 (Rev 01.01.14)                                                                                Page 1 of 3
                Case 2:21-cv-01940-MCE-AC Document 1 Filed
                                                      Court10/19/21
                                                            of California,Page 15ofofSacramento
                                                                           County     26
                                                                                                  Case Management

Mediation. Mediation is a voluntary, informal, confidential process in which the Mediator, a neutral third party, facilitates
settlement negotiations. The Mediator improves communication by and among the parties, helps parties clarify facts,
identify legal issues, explore options and arrive at a mutually acceptable resolution of the dispute.

Litigants are encouraged to use an ADR process as early in the case as circumstances permit. AII appropriate cases will
be reviewed for referral to ADR at the Case Management Conference(CMC).


                              ADR Procedures for the Sacramento County Superior Court
Upon filing a complaint or cross-complaint, the plaintiff/cross-complainant must acquire this information package from the
Court's Website, http://www.saccourt.ca.gov, or the Superior Court Clerk. Plaintiff is required to include the ADR
Information Package when he or she serves the Complaint on the Defendant.

The court's ADR Panel List is available on-line at http://www.saccourt.ca.gov or may be obtained at the Civil Filing
Counter at the Gordon D. Schaber Sacramento County Courthouse, 720 Ninth Street, Room 101, Sacramento, CA
95814.

Mediation.
AII parties to the dispute may voluntarily agree to submit the case to a neutral Mediator, either through a court-
appointment or through a private arrangement. The parties may choose either of the following Mediation choices:

        Private Mediation. Parties to a civil action agree to mediate their dispute with a Mediator of their choice
        without court assistance. The cost of Mediation must be borne by the parties equally unless the parties
        agree otherwise. Parties will be charged an amount as set by the Mediator (refer to the ADR Panel List
        for current rates).

        Court Mediation. Upon stipulation of the parties, a Mediator and alternate Mediator will be selected from
        the court-approved list of neutrals (ADR Panel List). The court witl confirm the selected Mediator and
        notice parties by mail.

        The Mediator is then responsibte for contacting the parties to confirm a date, time, and place for
        Mediation. Mediators on the court's approved ADR Panel List have agreed to provide up to three (3)
        hours of pro-bono Mediation. In the event the Mediation extends beyond 3 hours and parties determine it
        would be beneficial to continue the Mediation process; the parties will independently be responsible for
        compensating the Mediator in an amount as set by the Mediator.

UNLIMITED CIVIL CASES
   •  A Stipu/ation and Order to Mediation — Unlimited Civil Cases, Form CV1E-MED-179 (see attached) may be filed
      with the court at any time up to 15 calendar days prior to the Case Management Conference.

    •   If the parties do not stipulate to Mediation prior to their CMC, they may indicate their willingness to stipulate to
        Mediation at the CMC. In that event, parties must submit a Stipulation and Order to Mediation — Unlimited Civii
        Cases within 14 calendar days after their CMC.

    •   A Mediation Statement must be filed with the Case Management Statement.

LIMITED CIVIL CASES
   •  Parties may select and conduct voluntary Private Mediation without notification to the Court.

    •   Parties may stipulate to court mediation by filing a Stipulation and Order to Arbitration/Mediation - Limited Civil
        Cases form (CV\E-203) at any time after the filing of the Limited Civil Cas,e Status Memorandum form (CV\E-202).
        This form is located on the court's website at http://www.saccourt.ca.gov. A Stipulation and Order to
        Arbitration/Mediation — Limited Civil Cases MUST be filed concurrently or subsequent to a Limited Civil Case
        Status Memorandum.




                                      Alternative Dispute Resolution Information Package
CV\E-100 (Rev 01.01.14)                                                                               Page 2 of 3
                                                      Court10/19/21
                Case 2:21-cv-01940-MCE-AC Document 1 Filed  of California,Page 16ofofSacramento
                                                                           County     26
                                                                                                     Case Management



Arbitration
UNLIMITED CIVIL CASES
    •   Plaintiff may elect, the parties may stipulate, or the judge may Order the case to Arbitration. Parties will be asked
        to select an Arbitrator and three alternate Arbitrators from the court's ADR Panel List. The court will send a
        Notice of Appointment and an appropriate Order to Arbitration to all parties.

        Arbitrations are conducted pursuant to Califomia Rules of Court, rules 3.810 through 3.830, and Local Rules
        Chapter 2, Part 5. Unless otherwise stipulated, an Award of Arbitrator is not binding upon the parties provided
        that they file a timely Request for Trial De Novo pursuant to California Rules of Court, rule 3.826. Upon the filing
        of a timely Request for Trial De Novo, the case will proceed to a Trial-Setting Conference. If no timely Request
        for Trial De Novo is filed, judgment based upon the Award of Arbitrator will be entered pursuant to California
        Rules of Court, rule 3.827.

LIMITED CIVIL CASES
Arbitration may occur in a limited civil case under the following circumstances:
    •    When all parties stipulate to arbitration pursuant to Code of Civil Procedure section 1141.12. A stipulation for
         arbitration shall be filed using the Court's local form, Stipulation and Order to Arbitration/Mediation — Limited Civil
         Cases form (CV1E-203). A Stipulation and Order to Arbitration/Mediation — Limited Civil Cases MUST be filed
         concurrently or subsequent to a Limited Civil Case Status Memorandum form (CV1E-202).

    •   When plaintiff elects to refer the case to judicial arbitration. A written election by the plaintiff to submit an action or
        proceeding to arbitration shall be filed using the Court's local form, Limited Civil Case Status Memorandum form
        (CV1E-202).

Additional Information
For additional information regarding the Court's ADR program, please go to the Court's website
hftp://www.saccourt.ca.gov.




                                       Alternative Dispute Resolution Information Package
CV1E-100 (Rev 01.01.14)                                                                                 Page 3 of 3
              Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 17 of 26

                                                                                              For court Use Only
                            SUPERIOR COURT OF CALIFORNIA
                                 County of Sacraniento
                               720 Ninth Street, Room 102
                               Sacramente, CA 95814-1311


 PETITIQNEWALAINTIFF :
                         Joseph Aguinaldo

 RESPONDSNrIDEFENDANT: Dlck's 5porting Goods lnc



                                                                                              CASE NUMBER:.
                     ORDER RE: DELAY IN SCHEDULING
                                                                                              34-2021-00305547
                 INITIAL CASE MANAGEMENT CONFERENCE



The Court finds good cause to deiay the scheduiing of the.initial Case Management Conference for
this case given the COVID-19 pandemic and its impact on court-wide operations. Among the
affected operations is the Court's Case.Management Program (CMP). The Court's CMP calendars
have been and remain suspended untii further notice. After the CMP Departments resume
operations, the Court will scheduie the initial Case Management Conference in this case and issue a
Notice of Case Management Conference and Order to Appear.

The deadiine for filing and service of the Case Management Conference Statements will be based
upon the date for the initial Case Management Conference once it has been schedufed.

Parties shall continue to accompiish service of all parties named in the action.
Parties shall continue to ensure that al1 defendants and cross-defendants have answered, been
dismissed, or had their defaults entered.

Plaintiff shall serve a copy of this order on any party to the complaint. The cross-complainant shall
have the sarrne obiigation with respect to the cross-compiaint


                                                                                      RICHARD K: SUEYOSHI
Dated: August 4th 2021                                          -
                                                                    Richard K. Sueyoshi, Judge of the Superior Court




                                                                                                                   Page 1 of 1
                                Order re: Delay In Sctteduling initial Case Management Conference
               Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 18 of 26
                                SUPERIOR COURT OF CALIFORNIA
                                     County of Sacramento
                                        720 Ninth Street
                                   Sacramento, CA 95814-1380
                          (916) 874-5522—Website www.saccourt.ca.gov

                                           Program Case Notice
                                              Unlimited Civil Case

The Case Management Program (CMP) requires the following timelines to be met in all cases except those
that are excluded by California Rule of Court 3.712(b), (c) and (d) and Local Rule 2.46(B), (E) and (F).
       Action                                                   Re uirement
Service of Summons       Summons, complaint and program case notice must be served on all named defendants and
                         proofs of service on those defendants must be filed with the court within 60 days from the filing
                         of the complaint.
                         When the complaint is amended to add a new defendant, the added defendant must be served
                         and proofs of service must be filed within 30 days after the filing of the amended comptaint.
                         A cross-complaint adding a new party must be served and proofs of service must be filed with
                         the court 30 days from the filing of the cross-complaint.
Statement of             If a statement of damages pursuant to Section 425.11 of the Code of Civil Procedure or a
Damages                  statement of punitive damages is required, it must be served with the summons and complaint.
Responsive               If a responsive pleading is not served within the time limits and no extension of time has been
Pleadings                granted, the plaintiff within 10 days after the time for service has elapsed must file a request for
                         entry of default.
                         Parties may stipulate without leave of court to one 15-day extension beyond the 30-day time
                         period prescribed for the response after service of the initial complaint.
                         No extensions of time to respond beyond 105 days from the filing of the complaint may be
                         given.
Judgment by Default      When default is entered, the party who requested the entry of default must apply for a default
                         judgment against the defaulting party within 45 days after entry of default, unless the court has
                         granted an extension of time.
Case Management          The court will provide a notice of case management conference on the filing parties at the time
Statement                that the case is filed with the court. A case management statement shall be filed at least 15
                         calendar days prior to the date set for the case management conference.
Mediation Statement      The Mediation Statement shall be filed concurrently with the Case Management Statement,
                         unless the parties have filed a Stipulation for Alternative Dispute Resolution form with the
                         ADR Administrator at any time up to 15 calendar days prior to the Case Management
                         Conference, as required by Local Rule 2.51 E).
Meet and Confer          Parties must meet and confer, in person or by telephone as required in California Rules of
                         Court 3.724 at least 30 calendar days before the case management conference date.
Case Management          A case management conference is generally held within 180 days of the filing of the complaint.
Conference
Failure to comply with the program rules may result in the imposition of sanctions or an order to show cause.
Please refer to Local Rules Chapter Two — Part 4 for more information.
       NOTE: THIS NOTICE MUST BE SERVED WITH THE SUMMONS AND COMPLAINT.

                                    Program Case Notice (Unlimited Civil Case)
CV1E-143U (Rev 02.16.16)                                                                                       Page 1 of 1
Local Form Adopted for Mandatory Use
                  Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 19 of 26
ATTORNEY OR PARTY WITHOUT ATTORNEY (NAME, STATE BAR # AND ADDRESS):                                             FOR COURT USE ONLY




TELEPHONE NO.                             FAX NO. (Optional)
EMAIL ADDRESS (Optional)
ATTORNEY FOR NAM :
Superior Court of California, County of Sacramento
720 Ninth Street, Room 101
Sacramento, CA 95814-1380
 916 874-5522—Website www.saccourt.ca.gov
PLAINTIFF/PETITIONER:                                                                                 CASE MANAGEMENT CONFERENCE
                                                                                                      DATE:

DEFENDANT/RESPONDENT:
                                                                                                      CASE NUMBER:
        STIPULATION AND ORDER TO MEDIATION - UNLIMITED CIVIL
                                                                                                      ASSIGNED DEPT.:

    The parties and their attomeys stipufate that the claims in this action shall be submitted to the following mediation process:

    Tvpe of Med'oation (select one):

    ❑      1. COurt Mediation. Mediators on the court's approved ADR Panel List have agreed to provide up to three (3) hours ofpro-bono
    Mediation. In the event the Mediation extends beyond 3 hours and parties determine it would be benefrcial to continue the Mediation process: the
    parties will independently be responsib/e for compensating the Mediator in an amount as set by the Mediator.


    ❑     2. Court Mediation in lieu of previously ordered Arbitration. Mediators on the courts approvedADRPane/Listhave
    agreed to provide up to three (3) hours ofpro-bono Mediation. In the event the Mediation extends beyond 3 hours and parties determine it would
    be beneficial to continue the Mediatfon process: the parties will independently be responsible for compensating the Mediatorin an amount as set
    by the Mediator.


    ❑     3. Private Mediation. Per Local Rule 2.84 the cost of inediation must be bome by the parties equally unless the parties agree
    othenvise. Parties will be charged an amount as set by the Mediator.


    ❑      4. Private Mediation in lieu of previously ordered Arbitration. PerLocalRu/e 2.s4thecostofinediationmustbe bome
    by the parties equa/ly unless the parties agree otherwise. Parties will be charged an amount as set by the Mediator.



    Neutral

    Court Neutral Selected:                                   Name
    (If type of Mediation selected above is option 1 or 2)

    Alternate Court Neutral Selected:                         Name
    (If type of Mediation selected above is option 1 or 2)

    Alternate Court Neutral Selected:                         1
    (If type of Mediation selected above is option 1 or 2)

    Private Neutral Selected:                                 Name
    (If type of Mediation selected above is option 3 or 4)


    Other Stipulations

    ❑     Discovery to remain open 30 days prior to trial.

    Additional Stipulations:


                                           Stipulation and Order to Mediation - Unlimited Civil
CV1E-MED-179 (Rev Q1.01.14)                                                                                                        Page 1 of 3
Local Form Adopted for Mandatory Use
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                                   STIPULATION AND ORDER TO MEDIATION — UNLIMTED CIVIL


    PLAINTIFF/PETITIONER:                                                                  CASE NUMBER:

    DEFENDANT/RESPONDENT:



              Name of Party Stipulating          Name of Party or Attorney Executing Stipulation      Signature of Party or Attomey
                                           Bar #
                                          Address


     ❑     Plaintiff ❑    Defendant ❑       Cross-Complainant ❑          Cross-Defendant Dated



              Name of Party Stipulating          Name of Party or Attorney Executing Stipulation      Signature of Party or Attorney
                                           Bar #
                                          Address


     ❑     Plaintiff ❑    Defendant ❑       Cross-Complainant ❑          Cross-Defendant Dated



              Name of Party Stipulating          Name of Party or Attorney Executing Stipulation      Signature of Party or Attorney
                                           Bar #
                                          Address


     ❑     Plaintiff ❑    Defendant ❑ Cross-Complainant ❑                Cross-Defendant Dated:

    ❑        Additional Signature Page(s) Attached

                                                                      ORDER
The foregoing stiputation having been read and considered, and good cause appearing, now therefore:

❑        Stipulation and Order to Mediation deferred to Case Management Conference.
❑        The Court orders the parties to enter mediation as stipulated above, pursuant to Chapter Two — Part 5 of the Local Rules.
❑        Previously scheduled Case Management Conference is vacated.
❑        Previous order to Arbitration is vacated and appointment of Arbitrator rescinded.
❑        The case is ordered to the Trial-Setting Process. The Trial and Settlement Conference dates shall be selected no later than


❑        Trial-Setting Conference is vacated.

❑        Time to Select Trial date and Mandatory Settlement Conference date is extended to

❑        Mediation Status Conference set for:
                                                                  Date                         Time                 Department
❑        Stipulation and Order to Mediation denied.

❑        It is further ordered that:




     Dated:                                                    Signed:
                                                                                     Judge of the Superior Court

                                            Stipulation and Order to Mediation — Unlimited Civil
CV1E—MED-179 (Rev 01.01.14)                                                                                                   Page 2 of 3
Locat Form Adopted for Mandatory Use
                Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 21 of 26



                                            STIPULATION AND ORDER TO MEDIATION

                                                       (Additiona! Signature Page)


  PLAINTIFF/PETITIONER:                                                                 CASE NUMBER:

  DEFENDANT/RESPONDENT:




          Name of Party Stipulating           Name of Party or Attorney Executing Stipulation    Signature of Party or Attorney
                                        Bar #
                                       Address



   ❑   Plaintiff ❑    Defendant ❑        Cross-Complainant ❑        Cross-Defendant Dated:




          Name of Party Stipulating           Name of Party or Attorney Executing Stipulation    Signature of Party or Attorney
                                        Bar #
                                       Address



   ❑   Plaintiff ❑    Defendant ❑        Cross-Complainant ❑        Cross-Defendant Dated:




          Name of Party Stipulating           Name of Party or Attorney Executing Stipulation    Signature of Party or Attomey
                                        Bar #
                                       Address



   ❑   Plaintiff ❑    Defendant ❑        Cross-Complainant ❑        Cross-Defendant Dated:



          Name of Party Stipulating           Name of Party or Attorney Executing Stipulation    Signature of Party or Attorney
                                        Bar #
                                       Address



   ❑   Plaintiff ❑    Defendant ❑        Cross-Complainant ❑        Cross-Defendant Dated:



          Name of Party Stipulating           Name of Party or Attorney Executing Stipulation    Signature of Party or Attorney
                                        Bar #
                                       Address


   ❑   Plaintiff ❑    Defendant ❑        Cross-Complainant ❑        Cross-Defendant Dated:




                                         Stipulation and Order to Mediation — Unlimited Civil
CV1E—MED-179 (Rev 01.01.14)                                                                                              Page 3 of 3
Local Form Adopted for Mandatory Use
                       Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 22 of 26
                   Secretary of State            1505
                   Registered Corporate Agent for
                   Service of Process Certificate
                   (Registered Corporations ONLY)
                                                                                                                                        I
                                                                                                  Secretary of Statc
INiPORTANT — Read Instructions before completing this form.
                                                                                                  State of Califorilia
Filing Fee — $30.00
Copy Fees — First page $1.00; each attachment page $0.50;
                                                                                                             A0852950
            Certification Fee - $5.00.plus copy fees                                                        Filing Number

Who Can File? Any active corporation that is registered with the                                             02/ 10/2021
California Secretary of State can file this Form 1505 to become
authorized to be a corporate agent for service of process for other                                           Filing Date
business entities that are registered with the Secretary of State.
To check the status of your corporation, and to ensure you are
entering the exact name of the corporation and the correct 7-digit
Secretary of State file number, go to BusinessSearch.sos.ca.gov.                                   This Space For Office Use Only

 1.     Corporate Name         (Enter the exact name of the corporation as it is recorded with the California Secretary of State.)


CORPORATION SERVICE COMPANY WHICH WILL DO BUSINESS IN CALIFORNIA AS CSC - IAWYERS INCORPORATING SERVICE




 2. 7-Digit Secretary of State Entity Number

                           C1592199
                                                   (Enter the comptete street address in California of the office where any entity that named your
 3. Address for Service of Process                 corporation as agent for service of process may be served with process.)
                                                   Do not enter a P.O. Box or "in care of' an individual or entity.
Street Address - Do not enter a P.O. Box                                        Cily (no abbreviations)                         State      Zip Code
2710 Gateway Oaks Drive, Suite 150N                                             Sacramento                                      Cp        95833
                                       (Enter the names of all persons employed by your corporation who are authorized to accept delivery of any copy
 4. Authorized Employees               of service of process, at the address entered in Item 3 above, on any entity who has designated your corporation a
                                       as its agent for service of process. Must enter at least 1 person. If there are more than 3, see Instructions.)
a.First Name of Authorized Emptoyee                                             Middle Name                  Last Name                                Suffix
See attached list
b.First Name of Authorized Employee                                             Middle Name                  Last Name                                Suffix


c.First Name of Authorized Employee                                             Middle Name                  Last Name                                Suffix



 5.     Statement of ConSetlt (Do not alter the Statement of Consent.)

This corporation consents that delivery of a copy of service of process to an authorized employee at the address
designated in item 3 shall constitute delivery of any such copy to the corporation, as the agent for service of process.

 6.     Read and Sign Below           (See Instructions. Office or title not required. Do not use a computer generated signature.)

I am a corporate officer and am authorized to sign on behalf of the corporation.

                                                                                   Jackie Smetana, Executive Vice President
      S gr(ature                                                                     Type or Print Name

  1505 (REV 1212020)                                                                                                          2020 California Secretary of State
                                                                                                                                              i.i+Sln n.,.. nn n....
    Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 23 of 26
                                                         A0852950
Kaitlyn Mannix

Becky DeGeorge

Koy Saechao

Lai Saevang
Nicole Stauss
Kevin Bautista

Trudy Desbiens

Susie Vang

Catherine Webb

Roxie Taylor

Fanny Xiong

Melissa Vang

Dona Niemeyer

Melissa DeKoven

Carolyn Valle

Kaci Ransom

Kan Pen

Kelli Shortte

Annette Kuhlman

Arrielle Garcia

Brejet Stephens

Crystal Chapman

Janette Mcintyre

Jerome Suarez

Jonel Yelverton-

Reis

Kayla Vue

Laurie Tolman

Mindy Fay

Rafael Munoz

Samantha Alterman

Samantha Wiltz

Sherie Hinton
Parid Kurbini
Vivien Mitchell
Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 24 of 26




             EXHIBIT 2
         Case 2:21-cv-01940-MCE-AC Document 1 Filed 10/19/21 Page 25 of 26



     1   PORTER              |    SCOTT
         A PROFESSIONAL CORPORATION
 2
         David A. Melton, SBN 176340
         Cassandra J. Ninke, SBN 327359
 3       350 University Avenue, Suite200
         Sacramento, California 95825
 4
         TEL: 916.929.1481
         FAX: 916.927.3706
 5
         dmelton@porterscott.com
         cninke@porterscott.com
 6

 7
         Attorneys for Defendants
         DICK’S SPORTING GOODS, INC. and THOMAS ZIEBART
 8

 9
                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
10

                                                COUNTY OF SACRAMENTO
11


12       JOSEPH AGUINALDO,                                     CASENO: 34-2021-00305547


13                                 Plaintiff,
                                                               DECLARATION OF THOMAS ZIEBART
                 vs.
14

         DICK’S SPORTING GOODS, INC.;
15
         THOMAS ZIEBART; and DOES 1 through
         100, inclusive,
16

17                                 Defendants.


18
         I, THOMAS ZIEBART, declare:
19
                 1.        I am currently employed as the District Manager for Dick’s Sporting Goods, Inc.’s

20
         East Los Angeles District. If called as a witness, I would competently testify to the following facts,

21
         all of which are within my own personal knowledge.

22
                 2.        I started working for Dick’s Sporting Goods, Inc. in 2009 as a store manager. From

23
         approximately 2009 to 2014, I worked as a store manager at various Dick’s Sporting Goods, Inc.

24
         retail store locations, including in New York, New Jersey, Connecticut, and California.

25
                 3.        In 2014, 1 worked as a store manager at the Dick’s Sporting Goods, Inc. retail store

26
         located in Kansas.

27
                 4.        In 2015, 1 worked as a store manager at the Dick’s Sporting Goods, Inc. retail store

28
         {02526080.DOCX}                            1
                                      DECLARATION OF THOMAS ZIEBART
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     1    located in Dublin, California.

     2             5.      In 2016, 1 was promoted first as an interim District Manager and then as a permanent

     3    District Manager of the Dick’s Sporting Goods, Inc.’s San Francisco District.

     4            6.       In 2017, 1 transferred to become the District Manager of the Dick’s Sporting Goods,

     5    Inc.’s Central Valley District.

     6            7.       On September 15, 2019, 1 transferred to my current position as the District Manager

     7    of the Dick’s Sporting Goods, Inc.’s East Los Angeles District.

     8            8.       Since 2015, when I promoted to become a District Manager, I have not sold
                                                                                                     a

     9   customer a golf club set. As a result, I would not have been directly involved
                                                                                        in the sale of the Top

 10      Flite XL 13-Piece Complete Set, which Plaintiff alleges in his Complaint to have
                                                                                          purchased from

 11      Dick’s Sporting Goods, Inc. on April 17, 2019, to Plaintiff.

 12               9.       Moreover, in my capacity as a District Manager, my duties do not and have
                                                                                                     never

13       involved anything as it relates to Dick’s Sporting Goods, Inc.’s sale of golf clubs, and
                                                                                                  in particular,

14       Dick’s Sporting Goods, Inc.’s sale of the Top Flite XL 13-Piece Complete Set.

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16       Executed on October 17, 2021, at Los Angeles, California.

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19                                                             Thomas Ziebart

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                                    DECLARATION OF THOMAS ZIEBART
